 Case 12-27642       Doc 121        Filed 04/22/16 Entered 04/22/16 15:19:45             Desc Main
                                     Document     Page 1 of 4


                         UNITED STATES BANKRUPTCY COURT
                          WESTERN DISTRICT OF TENNESSEE
                                 WESTERN DIVISION


In re:

DONAL MARTIN McDONAGH and
MICHELE RAWLS McDONAGH                               Case No. 12-27642 DSK

               Debtor.                               Chapter 13


                MOTION FOR RELIEF FROM THE AUTOMATIC STAY


         COMES NOW WestVue NPL Trust by and through its servicer LongVue Mortgage

Capital, Inc. (hereinafter “WestVue”), a secured creditor, by and through counsel, and submits its

motion for relief from the automatic stay provisions of 11 U.S.C. § 362. In support of its motion,

WestVue would show unto the court the following:


                                JURISDICTION AND VENUE

         1.    This Court has jurisdiction to hear this motion under 28 U.S.C. § 157 and 1334.

This is a core proceeding pursuant to 28 U.S.C. § (b)(2)(G).

         2.    Venue is proper for this matter pursuant to 28 U.S.C. § 1408 and 1409.

         3.    The statutory basis for the relief requested herein is 11 U.S.C. § 362.


                                     STATEMENT OF FACTS

         4.    The Debtors herein, Donal and Michele McDonagh (hereinafter “Debtors”), filed a

Chapter 13 case on July 20, 2012.

         5.    WestVue is the holder of the August 29, 2007 Promissory Note from the Debtors.

Said Note is secured by a Deed of Trust on the real property which is the Debtor’s residence

located at 2416 Sanders Ridge, Germantown, TN. Said Deed of Trust is recorded at Instrument
 Case 12-27642        Doc 121      Filed 04/22/16 Entered 04/22/16 15:19:45             Desc Main
                                    Document     Page 2 of 4


No. 07136288 in the Register’s Office of Shelby County, Tennessee. Said Note was modified by

the Loan Modification Agreement dated June 30, 2008 and recorded at Instrument No. 08090271

in the Register’s Office of Shelby County, Tennessee. Attached hereto as collective Exhibit A

and incorporated herein by reference are copies of the above-referenced documents.

       6.      The subject loan originated with Trust One Bank. Trust one Bank later merged

with Synovus Bank. On February 26, 2015, Synovus Bank, as successor in interest by merger

with Trust One Bank, assigned the Note and all of the other loan documents for the subject loan

to WestVue. Said Assignment was recorded at Instrument No. 16028197 in the Register’s Office

of Shelby County, Tennessee. Attached hereto as Exhibit B and incorporated herein by reference

is a copy of the recorded Assignment.

       7.      The Debtors’ Chapter 13 Plan was confirmed by an order docketed on September

28, 2012. The Plan provided for payment of the ongoing mortgage loan outside of the Plan.

       8.      The subject loan currently required monthly installment payments of $6,165.78.

The Debtors are in default with the post-petition payments due to WestVue on the subject loan

beginning with the installment payment due April 1, 2015 through April 1, 2016. With the unpaid

installment payments and unpaid late charges, the total balance as of April 15, 2016 to cure the post-

petition default is $85,061.77, exclusive of attorney fees and costs. The total payoff of the loan as

of April 15, 2016, exclusive of attorney fees and costs, is $522,145.71.

       9.      WestVue is not adequately protected while the Debtors continue in the use of the

residential property without maintaining the ongoing home mortgage payments.




                                                  2
 Case 12-27642       Doc 121     Filed 04/22/16 Entered 04/22/16 15:19:45           Desc Main
                                  Document     Page 3 of 4



       WHEREFORE, PREMISES CONSIDERED, your moveant prays:

       1.     That WestVue be granted relief from the automatic stay provisions of 11 U.S.C. §

362 to allow it to proceed with foreclosure or to pursue any other appropriate legal remedy as to

the real property located at 2416 Sanders Ridge, Germantown, TN;


       2.     That the provisions of Federal Bankruptcy Rule 4001(a)(3) be waived to allow

WestVue to immediately enforce any order granting relief from the automatic stay; and


       3.     For such other further relief to which your movant may be entitled.


       Dated: April 22, 2016.

                                            Respectfully submitted,

                                            /s/ Douglas M. Alrutz
                                            Douglas M. Alrutz (BPR 11389)
                                            M.E. Buck Dougherty III (BPR 022474)
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                                            Attorneys for WestVue NPL Trust




                                               3
 Case 12-27642       Doc 121      Filed 04/22/16 Entered 04/22/16 15:19:45            Desc Main
                                   Document     Page 4 of 4



                                CERTIFICATE OF SERVICE

        I here by certify that on the 22nd of April, 2016, a copy of the foregoing was served on the
parties listed below by first-class mail, postage prepaid, unless said party is a registered CM/ECF
participant who has consented to electronic notice, and the Notice of Electronic Filing indicates
that Notice was electronically mailed to said party:

James D. Gentry                                      George W. Stevenson
Gentry Arnold & Mitchell, PLLC                       5350 Poplar Avenue, Suite 500
5100 Poplar Avenue, Suite 2008                       Memphis, TN 38119-3697
Memphis, TN 38137                                    Chapter 13 Trustee
Attorneys for Debtors

Donal and Michele McDonagh
2416 Sanders Ridge
Germantown, TN 38138-6144

                                              /s/ Douglas M. Alrutz
                                              Douglas M. Alrutz

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